Case 3:10-cr-03617-BEN   Document 215   Filed 07/28/11   PageID.1096   Page 1 of 9
Case 3:10-cr-03617-BEN   Document 215   Filed 07/28/11   PageID.1097   Page 2 of 9
Case 3:10-cr-03617-BEN   Document 215   Filed 07/28/11   PageID.1098   Page 3 of 9
Case 3:10-cr-03617-BEN   Document 215   Filed 07/28/11   PageID.1099   Page 4 of 9
Case 3:10-cr-03617-BEN   Document 215   Filed 07/28/11   PageID.1100   Page 5 of 9
Case 3:10-cr-03617-BEN   Document 215   Filed 07/28/11   PageID.1101   Page 6 of 9
Case 3:10-cr-03617-BEN   Document 215   Filed 07/28/11   PageID.1102   Page 7 of 9
Case 3:10-cr-03617-BEN   Document 215   Filed 07/28/11   PageID.1103   Page 8 of 9
Case 3:10-cr-03617-BEN   Document 215   Filed 07/28/11   PageID.1104   Page 9 of 9
